USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 1 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 2 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 3 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 4 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 5 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 6 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 7 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 8 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 9 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 10 of 33
USCA11 Case: 22-12516   Document: 11   Date Filed: 09/29/2022   Page: 11 of 33
USCA11 Case: 22-12516       Document: 11       Date Filed: 09/29/2022   Page: 12 of 33


                         STATEMENT OF THE ISSUES

   1. Whether the District Court Erred in Determining as a Matter of First

      Impression that the Statute of Limitations Began to Run at the Earliest

      Possible Date, Thus Prohibiting the Cause of Action From Being Decided on

      the Merits.



                          STATEMENT OF THE CASE

                         Procedural Posture of the Case

      For purposes of this appeal, counsel asserts that the entire statement of the

case is contained in (doc.1), the complaint, which was filed on February 18, 2022;

and the order granting the Defendants’ Motion to Dismiss (doc.17), rendered on July

1, 2022, where the District Court found as a matter of law that the complaint was

untimely filed where it found that the Statute of Limitations began to run at the jury

selection in the underlying matter in 2017. (doc.17, p.4).

      This was an adoption of the Defendants’ position contained in Defendants’

Motion to Dismiss and/or Motion for Summary Judgment. (doc.12, pp.6-7).

However, the district court failed to accept the holding in Basemore v. Abraham, No.

05-820, 2006 WL 120035 (E.D. Pa. Jan. 11, 2006) as persuasive authority as

presented in the Appellant’s/Plaintiff’s, Carlus L. Haynes’ Response In Opposition

To Defendants’, City Of Orlando, Martha Lee Lombardy, O’Connor and O’Connor,


                                           1
USCA11 Case: 22-12516         Document: 11       Date Filed: 09/29/2022   Page: 13 of 33


LLC, and Dennis O’Connor Motion to Dismiss. The district court broadly applied

the general knew or should have known standard to find the complaint was untimely

filed. (doc.17, p.3).

       Based on prevailing on their Motion to Dismiss and/or Motion for Summary

Judgment, the City of Orlando filed a Motion For Rule 11 Sanctions claiming the

complaint filed was frivolous. (doc.18) The undersigned filed his Response In

Opposition To Motion For Rule 11 Sanctions on July 29, 2022. (doc.19)

       Counsel then filed a notice of appeal on July 31, 2022, (doc.20), and then filed

a Notice of Appearance; Certificate of Interested Persons; Civil Appeal Statement,

Transcript Order Form; and Stock Tickler on August 17, 2022. The Clerk apparently

sent an expedited briefing schedule on August 3, 2022, setting the deadline to file

the initial brief on or before September 12, 2022. This briefing schedule had not

appeared on the docket where counsel periodically checked, knowing that one

should have been issued. In fact, it was not until September 20, 2022 when counsel

received the email from the Clerk of Eleventh Circuit Court of Appeal notifying

counsel of the dismissal, and calling the Clerk’s Office, did counsel become aware

of the past due deadline to file the initial brief.

       On September 22, 2022, the district court entered an order denying the City

of Orlando’s Motion for Rule 11 Sanctions. Lastly, counsel completed the initial




                                             2
USCA11 Case: 22-12516       Document: 11       Date Filed: 09/29/2022   Page: 14 of 33


brief and filed his Motion to Reinstate Appeal and Accept Initial Brief as Timely

Filed on September 27, 2022.

                 Relevant Facts Regarding the Cause of Action
                     And Timing of Filing the Complaint

      On or about November 13, 2017, during jury selection in Carlus Haynes v.

City of Orlando, Case No. 2014-CA-10413-O, counsel for Defendant, Dennis

O’Connor and Marth Lee Lombardy used preemptory challenges to strike African

American females who were of a similar age and similar occupation as Caucasian

females that Mr. O’Connor and Mrs. Lombardy accepted on behalf of the City.

Based on this apparent discriminatory practice, Plaintiff’s counsel raised a “Baston

Challenge” and requested the defense provide a race neutral reason for the challenge.

      The trial court requested that Mr. O’Connor provide a race neutral reason for

the challenge at which time he stated on at least three separate occasions that the

juror’s age caused him concern. During the colloquy between counsel and the trial

court, the judge admonished counsel that she could not allow him to use an “age

discriminatory reason” to establish a “race-neutral” reason. Then counsel added that

the juror’s occupation was problematic in that this case involved a “back injury” and

prospective juror #10 would be more sympathetic to the Plaintiff. In addition, Mr.

O’Connor attempted to use his “experience” as a basis for the challenge and asked

the Court to accept these latter reasons as a race neutral reason to permit the

challenge.
                                           3
USCA11 Case: 22-12516        Document: 11       Date Filed: 09/29/2022   Page: 15 of 33


      The trial court still expressed concern and gave Plaintiff’s counsel a chance to

respond. It was noted that “prospective juror #2”, who had been accepted by the

Defense, was retired and had a similar occupation in that she was a “server” for

Marriott hotels. The trial court did not find the argument persuasive and indicated

that it had to accept Mr. O’Connor’s representation at face value without

ascertaining if the proffered reason was genuine.

      Trial commenced on November 13, 2017 and the jury returned a verdict in

favor of the City on November 14, 2017. On November 22, 2017, Plaintiff filed a

Motion for a New Trial. Plaintiff’s Motion for New Trial was heard on February

23, 2018. There Mrs. Lee Lombardy argued that the City and Mr. O’Connor had

not been discriminatory in striking African Americans where they accepted

prospective (#5), Norma Quiles Vasquez who was Hispanic. The trial court rejected

the City’s contentions and granted Plaintiff’s Motion for New Trial on February 27,

2018. O’Connor and O’Connor, LLC, and the City, by and through attorney Derek

J. Angell 0073449, filed a Motion for Reconsideration on March 2, 2018 that was

promptly denied on March 20, 2018 by Judge Renee Roach.

      Defendants filed a Notice of Appeal on March 26, 2018 still contesting the

granting of the motion for new trial. The City filed its initial brief on June 15, 2018.

The Appellee’s/Plaintiff’s Answer Brief was filed on July 15, 2018.

Defendant/Appellant City of Orlando’s Reply Brief was filed August 23, 2018. On


                                            4
USCA11 Case: 22-12516         Document: 11       Date Filed: 09/29/2022   Page: 16 of 33


February 5, 2019, the Fifth District Court of Appeal affirmed the lower court’s

decision ordering a new trial. On February 25, 2019, the Fifth District Court of

Appeal issued its Mandate. Carlus Haynes v. City of Orlando, Case No. 2014-CA-

10413-O, was re-noticed for trial. (Doc. 1, pp.6-9) The case was eventually resolved

short of trial.

       The complaint based on discrimination in the jury selection process was filed

on February 18, 2022, and commenced an action pursuant to 42 U.S.C. § 1983 in the

Middle District of Florida.




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                                             5
USCA11 Case: 22-12516        Document: 11       Date Filed: 09/29/2022   Page: 17 of 33


                          SUMMARY OF ARGUMENT

      The district court applied the wrong standard to determine the commencement

date that the Statute of Limitations began to run. First, where it was a matter of first

impression, the district court should have applied the less stringent date in

determining when the Statute of Limitations would expire.

      Next, the district court erred in finding Basemore v. Abraham, No. 05-820,

2006 WL 120035 (E.D. Pa. Jan. 11, 2006) inapplicable, where neither the

Defendants nor the district court cited any cases remotely addressing the applicable

Statute of Limitations in a 42 U.S.C § 1983 cases arising from discrimination in the

jury selection process.

      Thirdly, the district court erred in not applying the Statute of Limitations start

date as recognized by Florida law for causes of actions arising out of litigation. Next,

although not cited initially by Appellant, the district court erred as a matter of law

where authority from the United Supreme States Court and various Circuit Courts

of Appeal support a finding that for causes of actions arising from litigation, the

Statute of Limitations does not begin to run until the last date in which the action

can be affirmed or overturned by way of an appeal.

      Lastly, where this particular Statute of Limitation for an atypical cause of

action has never been addressed within the District or the Circuit, the district court

erred in entering judgment on the pleadings against the Plaintiff/Appellant where on


                                            6
USCA11 Case: 22-12516           Document: 11       Date Filed: 09/29/2022   Page: 18 of 33


the face of the pleadings, it cannot be said that Defendants/Appellees were entitled

to relief as a matter of law.

                                     ARGUMENT

   I.       STANDARD OF REVIEW

         As recognized by this Court, the Panel conducts an “independent[] review [of]

the district court’s ruling concerning the applicable statute of limitations.” Lovett v.

Ray, 327 F.3d 1181, 1182 (11th Cir. 2003). See also Center for Biological Diversity

v. Hamilton, 453 F.3d 1331, 1334 (11th Cir. 2006) (citations omitted).(“We review

the district court's interpretation and application of statutes of limitations de novo.”)

Equally, whereas the district court’s order entered a judgment on the pleadings, the

Court also conducts a de novo review of the order to determine error. Perez v. Wells

Fargo N.A., 774 F.3d 1329, 1335 (11th Cir. 2014).

   II.      DISTRICT COURT APPLIED WRONG STANDARD IN
            DETERMINING THE CORRECT START DATE OF THE STATUTE
            OF LIMITATIONS

         It is well-established that on appeal, the Circuit Court must independently

review the district court’s ruling concerning the applicable statute of limitations.

Uboh v. Reno, 141 F.3d 1000, 1002 (11th Cir. 1998). Federal courts apply their

forum statute of limitations for personal injury actions to actions brought pursuant

to 42 U.S.C. § 1983. Id. However, Federal law determines when the statute of

limitations begins to run. Rozar v. Mullis, 85 F.3d 556, 561 (11th Cir. 1996). As a


                                               7
USCA11 Case: 22-12516        Document: 11       Date Filed: 09/29/2022   Page: 19 of 33


general proposition, “the statute of limitations does not begin to run until the facts

which would support a cause of action are apparent or should be apparent to a person

with a reasonably prudent regard for his rights.” Id. at 561-62 (internal marks

omitted).

      In the present case, the earliest counsel could be expected to know that the

unlawful discrimination in the jury selection process took place was when the trial

court entered its order granting a new trial. Up to that point, all Plaintiff had was an

argument or belief that had been rejected by the trial court when raised during voir

dire. To suggest that counsel “knew” discrimination had taken place to start the

running of the Statute of Limitations, runs afoul of sound principles of stare decisis

and res judicata.

      For consideration, if a trial court denies a criminal defendant pretrial release,

but the criminal defense attorney knows the court misapplied the law, can the

attorney compel the jail to release the criminal defendant on that belief? Or does the

criminal defense attorney need an order from a reviewing court affirming the belief

that the criminal defendant is entitled to release/relief before that defendant will be

released?

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                                            8
USCA11 Case: 22-12516         Document: 11       Date Filed: 09/29/2022   Page: 20 of 33


      A. Where the Issue Before the District Court Was a Matter of First
         Impression, the Court Should Have Denied the Defendants’ Motion to
         Dismiss and/or Motion for Summary Judgment In Favor of Deciding the
         Case on the Merits.

      Application of several procedural rules under the Federal Rules of Civil

Procedure dictate that district courts apply them in a manner that supports a general

policy that cases in controversy should be decided on the merits and not barred by

procedure. In applying Fed.R.Civ.P. 15, this Circuit has instructed district courts to

generally exercise their discretion in favor of allowing amendments in order to reach

the merits of a dispute. See Shipner v. E. Air Lines, Inc., 868 F.2d 401, 406-07 (11th

Cir. 1989) (explaining that Rule 15’s policy of “liberally permitting amendments to

facilitate [the] determination of claims on the merits circumscribes the exercise of

the district court’s discretion”).

      Also, in considering the end of litigation via default judgment, this Court has

considered “default judgments to be a ‘drastic remedy’ that should be used

‘sparingly’ when no other forms of relief are available. Mitchell v. Brown Williams

Tobacco Corporation, 294 F.3d 1309, 1316-17 (11th Cir. 2002) (quotation omitted).

Likewise, this Court has noted defaults are disfavored and there is a “strong policy

of determining cases on their merits”. Surtain v. Hamlin Terrace Found, 789 F.3d

1239, 1244-45 (11th Cir. 2015). This Court has instructed that default is proper only

when the pleadings clearly demonstrate entitlement to relief, similar to a showing

necessary to survive a motion to dismiss for failure to state a claim. Id. at 1245.
                                             9
    USCA11 Case: 22-12516     Document: 11       Date Filed: 09/29/2022   Page: 21 of 33


        The imposition of the earliest possible Statute of Limitations date in the

present case operated as a default judgment against the Appellant and prevented a

determination on the merits as to whether the Defendants discriminated against

prospective jurors based on race, thus violating the Plaintiff’s due process rights.

The start date was not plain from the record where there were arguably four different

dates by which the Statute of Limitations period could be computed.

        Liberally construing the Statue of Limitations in favor of continuing litigation

is the favored position, especially where the Statute of Limitations is not clearly

established. If the standard “clearly established law” can prevent a plaintiff from

redressing injury from a § 1983 defendant, certainly this same consideration can cut

in the opposite direction to prevent a § 1983 defendant from evading liability.

        This proposition of law was applied in United States v. Greene-Thapedi, 398

F.3d 635 7th Cir. 2005) where our Sister Circuit was called upon to decide on

seemingly a matter of first impression whether the Plaintiff (the United States

government) had filed a complaint to recover an IRS overpayment from a duplicate

refund check sent to defendant in error.1


1
 Counsel states “seemingly” whereas the opinion notes that “[a]lthough the
Supreme Court has not addressed the precise question posed in this appeal,
Greene-Thapedi points to dicta in O’Gilvie v. United States, 519 U.S. 79, 136
L. Ed. 2d 454, 117 S. Ct. 452 (1996), to support her argument that the date
of receipt governs”, however the Court noted that in the Supreme Court
decision, “The Court did not consider, however, whether the date of the
taxpayer’s receipt was the latest possible time for the statute to begin
                                            10
USCA11 Case: 22-12516        Document: 11      Date Filed: 09/29/2022   Page: 22 of 33


      For three years the defendant failed to file income tax returns in time. Id. at

635. “After processing her multiple late returns, the Internal Revenue Service (IRS)

issued her a refund check in the amount of $17,028.” Id. The IRS sent the refund as

a result of a processing error in that her tax returns were processed out of order. Id.

at 636. Once Green-Thapedi received the check she did not initially negotiate the

check because she wanted to verify if it was accurate. Id.

      After speaking with the IRS processing center and being reassured that the

refund was legitimate, the defendant cashed the check. “Records from the Treasury

Department show that payment on the check occurred on December 21, 1999.” Id.

at 636-37. Only after, did the IRS see the error of their ways and sought return of

the unmerited funds. Id. at 637. After several unsuccessful attempts “to recover the

funds from Greene-Thapedi, the government filed a complaint in federal court on

November 28, 2001, two years and one day after Greene-Thapedi received the

check, but one year and 342 days after the payment was completed.” Id., emphasis

added.

      The Court noted that the statute upon which the complaint was based governed

“suits to recover erroneous tax refunds provides that, absent fraud or

misrepresentation, an action must be brought within two years of ‘the making of the



running.” Id. at 638. See also 639, citing Paulson v. United States, 78 F.2d
97 (10th Cir. 1935) and United States v. Carter, 906 F.2d 1375 (9th Cir. 1990).
                                          11
USCA11 Case: 22-12516        Document: 11      Date Filed: 09/29/2022   Page: 23 of 33


refund.’ 26 U.S.C. § 6532(b).” The issue for the district court’s consideration was

which action constituted “the making of the refund”.

      Defendant “Greene-Thapedi argued that her refund was ‘made’ on November

27, 1999, when she received the check in the mail and therefore “the government’s

suit was timebarred by the statute of limitations because it was filed on November

28, 2001, one day after the two-year limitations period had run.” Id.              The

government’s position to the contrary, was that the “’making of [a] refund’ occurs

when the Treasury authorizes the refund payment and the check clears the relevant

Federal Reserve Bank.” Id.

      The Court, in applying a de novo standard of review, opined that “as a matter

of first impression in this circuit” it must decide “what act triggers the two-year

statute of limitations in a suit brought by the government pursuant to Section

6532(b).” While the parties sought imposition of their respective dates, the Court

noted two additional dates that could constitute the making of the refund, those being

“the date when the check was prepared, which appears on the face of the check, or

the date when the IRS mailed the check.” Id.

      In reaching Its’ holding, the Court juggled apparent precedent or dicta from

the United States Supreme Court and two Sister Circuits, with the general

proposition that the Statute of Limitations should be applied in favor of the Plaintiff

Government, as well as in a manner that provided a definitive date. In selecting the


                                          12
    USCA11 Case: 22-12516    Document: 11      Date Filed: 09/29/2022   Page: 24 of 33


last possible date that could be definitively established, the Court held that “the two-

year statute of limitations began to run on December 19, 1999, when the Treasury

department records show that Greene-Thapedi received payment on the refund

check. The government’s suit, which was filed on November 28, 1999, was thus not

time barred.” Id. at 639.

        In the case sub judice, the district had four potential commencement dates,

and only the first, the one ultimately chosen, was a date of uncertainty. In selecting

the date where the complained act occurred, where the trial judge ruled against

Haynes, there was no certainty that a due process violation had occurred. However,

each of the remaining potential dates had an increased certainty that a violation had

occurred.

        When the motion for new trial was granted, at least the trial court was

convinced that the Defendant O’Connor had not demonstrated his proffered reason

for excluding the African American juror was genuine.2 Not satisfied with the

ruling, the Defendant filed a notice of Appeal, and the Fifth District Court of Appeal

entered an order on February 5, 2019 affirming the trial court’s granting of the new



2
 Defendant will likely argue the merits of the genuineness was never reached
and the new trial was granted and the appeal affirmed on procedural
grounds. But this Court well knows that where the record demonstrates a
genuine non-pretextual reason for the preemptory challenge, even if the trial
court failed to follow proper procedures in addressing the “Baston
Challenge”, the error will be deemed harmless.
                                          13
USCA11 Case: 22-12516        Document: 11       Date Filed: 09/29/2022   Page: 25 of 33


trial. However, where the Defendant/State Court Appellant still had the option to

appeal that order, the operable commencement date of the Statute of Limitations is

the date the mandate was issued, which was February 25, 2019.

      The finding that the Statute of Limitations began to run on the day of voir dire

vitiates against recognized policy within this Circuit to address the merits of an

action when possible. Because there are three additional start dates in which to

compute the Statute of Limitations, the Appellant prays upon this Court to reverse

the order of the district court and remand for further proceedings.

      B. Plaintiff Provided Authority for Applying Statute of Limitation Date
         Commencing From Entry of Order on Appeal Affirming New Trial

      Ironically, neither the Defendants nor the district court cite to any Eleventh

Circuit cases addressing the Statute of Limitation for the specific claim raised in the

complaint, further supporting that this issue and the applicable Statute of Limitations

are matters of first impression in the Eleventh Circuit. Counsel cited Basemore v.

Abraham, No. 05-820, 2006 U.S. Dist. LEXIS 1121; 2006 WL 120035 (E.D. Pa.

Jan. 11, 2006), (doc.15, p. 8) in support of the argument that the Statute of

Limitations begins from the date the new trial is granted or the appeal is final (or the

time for filing an appeal has elapsed), where the action complained upon would not

be ripe for litigation until the Appellate Court has decided the issue or the state court

Defendant/Appellant had waived the right to appeal.



                                           14
USCA11 Case: 22-12516         Document: 11       Date Filed: 09/29/2022   Page: 26 of 33


      In Basemore, the defendant raised a similar challenge as the City of Orlando

did in the case at bar. There the court determined that the inmates § 1983 and § 1985

claims regarding discrimination in the jury selection process of his criminal trial

began to accrue “when the plaintiff knew or should have known of the

unconstitutional jury selection.” Id. at *5, citing Sameric Corp. of Del., Inc. v. City

of Philadelphia, 142 F.3d 582, 599 (3rd Cir. 1998). The court found:

      [t]he latest the plaintiff could have reasonably known that the
      jury in his 1988 trial was selected in violation of the constitution
      was on December 19, 2001, when he claims he was granted a
      retrial because of constitutionally inadequate jury selection
      during his 1988 trial. The plaintiff did not file this complaint until
      February 22, 2005, well after the applicable limitations period
      had run under §§ 1983, 1985 or 1986.

Id. at 6. See also Mullinax v. McElhenney, 817 F.2d 711, 716 (11th Cir. 1987).

      For some inexplicable reason, the district court rejected the rationale in

Basemore, but provided no authority to dispel Basemore’s reasoning or holding.

Counsel avers that the learned district court in Basemore utilized a common sense

approach to determine the appropriate Statute of Limitations for a rare cause of

action. Similarly, the undersigned requests that this Honorable Court deem that the

Statute of Limitations was not expired where the time did not begin to run, at the

earliest, until the state trial court rendered the order granting a new trial.




                                            15
USCA11 Case: 22-12516        Document: 11       Date Filed: 09/29/2022   Page: 27 of 33


      C. The Commencement Date of the Statute of Limitation for Causes of Action
         Arising Out of a Previous Litigation is not the Date the Complained Act
         Occurred.

      When determining the applicable Statute of Limitation for a rare cause of

action as a matter of first impression, the district court was required to apply the

Statute of Limitation from a similar cause of action. See Blue Cross & Blue Shield

of Alabama v. Sanders, 138 F.3d 1347, 1357 (11th Cir. 1998) (applying a six year

statute of limitation because holding that, as a matter of first impression, that “a

fiduciary's action to enforce a reimbursement provision pursuant to 29 U.S.C. §

1132(a)(3) is most closely analogous to a simple contract action brought under

Alabama law.”). In the case sub judice, the district court should have applied the

“commencement date” applied to legal malpractice lawsuits, where both causes of

action arise out of an attorney performance at trial and are similar in nature, like this

Court did in Sanders.

      In doing so, the only logical ruling would have been that the Statute of

Limitations does not begin to run until a new trial is granted or the appeal (if taken)

is final. See Silvestrone v. Edell, 721 So. 2d 1173 (Fla. 1998) and Eldred v. Reber,

639 So. 2d 1086, 1088 (Fla. 5th DCA 1994) (“for purposes of determining when the

statute of limitations begins to accrue in a litigational malpractice action when the

underlying action is appealed, the time begins to accrue when the appellate decision

is ‘rendered’…). See also Schreiber v. Rowe, 814 So. 2d 396, 398 (Fla. 2002) (in


                                           16
USCA11 Case: 22-12516        Document: 11          Date Filed: 09/29/2022   Page: 28 of 33


determining when the Statute of Limitations begins for a legal malpractice claim

deriving from criminal prosecution, the court held “that the statute of limitations in

a malpractice action does not commence until the criminal defendant has obtained

final appellate or postconviction relief.”)

      The Florida Supreme Court, in Gilbride, Heller, & Brown, P.A. v. Watkins,

783 So. 2d 224 (Fla. 2001) held that for legal malpractice claims, the Statute of

Limitation begins to run when the final appeal has concluded. The Court stated:

      We agree with the court below that, for the purposes of
      determining when the limitations period begins to run, “a final
      judgment is not final until a timely filed appeal to, or petition for
      review by, the supreme court is resolved.” Watkins, 754 So. 2d
      at 762. See also Chapman v. Garcia, 463 So. 2d 528, 529 (Fla.
      3d DCA 1985) (“[U]ntil the Florida Supreme Court resolves the
      issue if further review is sought--the question has not been
      resolved to finality.”); Wilson v. Clark, 414 So. 2d 526, 530 (Fla.
      1st DCA 1982) (“[A]n action continues to have life . . . until a
      timely filed petition for review in the Florida Supreme Court is
      acted upon”). This conclusion is consistent with the purposes of
      the bright-line rule announced in Silvestrone: to provide
      certainty and reduce litigation concerning when the statute starts
      to run. See 721 So. 2d at 1176. Accordingly, we approve the
      result below.

Gilbride, at 225-226.

      Where legal malpractice cases are akin to the cause of action raised in the

complaint below, the Appellant respectfully requests that that this Honorable Court

apply the same commencement date as in legal malpractice cases and reverse the




                                              17
USCA11 Case: 22-12516          Document: 11      Date Filed: 09/29/2022   Page: 29 of 33


district court’s order where on a matter of first impression it found that the Statute

of Limitations had run.

   III.      IT IS WELL ESTABLISHED THAT THE STATUTE OF
             LIMITATIONS ON CAUSES OF ACTIONS ARISING FROM STATE
             LAW LITIGATION START AT THE LATEST POSSIBLE DATE

          It has been well established by the United States Supreme Court, the Eleventh

Circuit, and various other Circuit Courts of Appeals that in federal habeas corpus

petitions, the Statute of Limitations does not begin to run until the mandate is issued

from the state appellate court or the time to file an appeal has expired. To state

differently, the Statute of Limitations does not begin until the last possible time in

the litigation process.

          In keeping with the “finality” theme, 28 U.S.C. § 2254 (which cause of action

has its’ origin in the criminal area much like actions brought pursuant to 42 U.S.C.

§ 1983) establishes the Statute of Limitations for filing a habeas petition to one year,

which begins to run “’from the latest of' four specified dates.’” Gonzalez v. Thaler,

565 U.S. 134, 132 S. Ct. 641, 652 , & n.9 (2012). See also similarly, United States

v. Gadsen, 332 F.3d 224, 229 (4th Cir. 2003) (holding that “the federal statute of

limitations begins running when the state court conviction is conclusively

invalidated”) and United States v. Hoskie, 144 F. Supp. 2d 108, 111 (D. Conn. 2001)

(holding that “the one-year statute of limitations starts to run on the date the state




                                            18
USCA11 Case: 22-12516       Document: 11       Date Filed: 09/29/2022   Page: 30 of 33


convictions are vacated, not an earlier date when the defendant discovered the facts

forming the basis for the attack on the state convictions.”)

      In Kapral v. United States, the Court of Appeals for the Third Circuit held:

      [A] judgment of conviction becomes final within the meaning of
      §2255 on the later of (1) the date on which the Supreme Court
      affirms the conviction and sentence on the merits or denies the
      defendant’s timely filed petition for certiorari, or (2) the date on
      which the defendant’s time for filing a timely petition for
      certiorari review expires. If a defendant does not pursue a timely
      direct appeal to the court of appeals, his or her conviction and
      sentence become final, and the statute of limitation begins to run,
      on the date on which the time for filing such an appeal expired.

166 F.3d 565, 577 (3rd Cir. 1999). See also Stafford v. Thompson, 328 F.3d 1302,

1304 (11th Cir. 2003) (“The statute of limitations for federal habeas corpus filing

purposes therefore clearly tolled from October 24, 2000, the day of the filing of the

second state habeas corpus petition to April 9, 2001, the last day of which Stafford

could have timely appealed the state court's denial of that petition to the Georgia

Supreme Court.”); Knight v. Schofield, 292 F.3d 709 (11th Cir. 2002) (reversing

dismissal habeas petition as untimely where limitations period should have been

equitably tolled until defendant received notice from state court of final disposition

of case; he had acted diligently in pursuing remedies.); and Steed v. Head, 219 F.3d

1298 (11th Cir. 2000) (Statute of Limitations for filing of federal habeas corpus

petition was not tolled for the period of time a defendant could have petitioned the




                                          19
USCA11 Case: 22-12516        Document: 11      Date Filed: 09/29/2022   Page: 31 of 33


United States Supreme Court for certiorari review of the denial of state habeas

corpus relief.)

      Again, the Appellant presents another line of cases that demonstrate a

consistent direction of reasoning regarding the start date of a Statute of Limitations.

Assuming arguendo that the district court below is correct, then the line of reasoning

in habeas corpus petitions as well as in legal malpractice cases is wrong.

   IV.    PUBLIC POLICY CONSIDERATIONS THAT FAVOR REVERSAL

      In an “atypical” cause of action where the applicable Statute of Limitations

has never been established or addressed, it was inappropriate for the district court to

rule as a matter of law, that the pleadings demonstrated the Defendant has

established an affirmative defense, that being that the complaint was barred by the

Statute of Limitations. See La Grasta v. First Union Securities, Inc., 358 F.3d 840,

845 (11ᵗʰ Cir. 2004) (“A statute of limitations bar is an affirmative defense and …

plaintiffs are not required to negate an affirmative defense in their complaint.”)

      In the current case, it cannot be said that the district was provided a “clear”

commencement date for accrual of time to bar the complaint based on the Statute of

Limitations. Notwithstanding the undersigned’s sincere belief that the district court

got it wrong, the face of the complaint presents three to four possible dates to

calculate the Statute of Limitations. Under this guise, public policy favors allowing

the case to be addressed on the merits and allowing this Court to ultimately


                                          20
USCA11 Case: 22-12516        Document: 11      Date Filed: 09/29/2022   Page: 32 of 33


determine how to apply the Statute of Limitations on this matter of first impression,

in the event the Plaintiff prevailed.


                                   CONCLUSION

      THEREFORE, Appellant prays upon this Honorable Court to establish that

the applicable Statute of Limitations for a 42 U.S.C. § 1983 cause of action deriving

from discrimination in the jury selection process commences at the last possible time

in the litigation process. In this particular case, the Appellant respectfully requests

that the order of the district court be reversed and remanded on the ground that the

Statute of Limitation DID NOT COMMENCE IN 2017, but rather at the time the

Fifth District Court of Appeals rendered its’ order or issued its’ mandate.

      WHEREFORE, the Appellant respectfully requests the above stated relief,

reasonable attorney fees pursuant to 42 U.S.C. § 1988 and any other remedy this

Court deems lawful, equitable and just.



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                                          21
USCA11 Case: 22-12516       Document: 11      Date Filed: 09/29/2022   Page: 33 of 33


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 27th day of September, 2022 I
electronically filed the (21pg. excluding certificates) Appellants’ Initial Brief as
attachment A to the Appellant’s Motion to Reinstate Appeal, with the United States
Court of Appeals for the Eleventh Circuit and emailed a copy of said motion to
counsel for the Appellees Derek J. Angell, Esq., dangell@roperpa.com, 2707 East
Jefferson Street, Orlando, FL 32803.
                                       Respectfully submitted,

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                                       Email: champ@fighting4ulaw.com
                                       Attorney for Appellants

       CERTIFICATE OF FONT AND WORD/PAGE COMPLIANCE
       I CERTIFY that this Motion and Response complies with FRAP 27(d)(2)(A)
an (C) and with including the Certificate of Interested persons, contains 5,159 words
and complies with the page limits of the respective rules. In addition, counsel
certifies (to the best of his understanding) that the motion complies with the type
face and type-style requirements of FRAP 32(a)5 and (a)6 respectively.

                                       Respectfully submitted,
                                       HAYNES LAW, P. A.
                                       _____/s./ Carlus L. Haynes
                                       CARLUS L. HAYNES, ESQUIRE
                                       Florida Bar Number: 0935611



                                         22
